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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 18-cv-00956-MSK-MEH

  SHAWNEE RYAN,

         Plaintiff,

  v.

  CORRECTIONAL HEALTH PARTNERS
  DR. JENNIFER MIX, M.D. (personal and professional capacity),
  HILARY VICTOROFF N.P. (personal and professional capacity), and
  LAURA SOMMERSCHIELD N.P. (personal and professional capacity);

         Defendants.

  ______________________________________________________________________

                     MOTION FOR SUMMARY JUDGMENT
                          FROM CHP DEFENDANTS
  ______________________________________________________________________

         Defendant Correctional Health Partners (“CHP”) and Dr. Jennifer Mix, (“Dr. Mix”),

  by and through their counsel, Andrew D. Ringel, Esq., and Edmund M. Kennedy, Esq., of

  Hall & Evans, L.L.C., hereby respectfully submit this Motion for Summary Judgment, as

  follows:

                                     INTRODUCTION

         Plaintiff Shawnee Ryan attempts a single claim against Dr. Mix for alleged

  deliberate indifference to her serious medical needs in violation of the Eighth Amendment

  pursuant to 42 U.S.C. § 1983. [See ECF No. 184 at 12-13] and two claims against

  Correctional Health Partners (“CHP”) for (1) negligence and (2) cruel and unusual
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  Punishment in violation of the Eighth Amendment pursuant to 42 U.S.C. § 1983. [Id. at

  7-12].

           Dr. Mix works for CHP, who contracts with the Colorado Department of Corrections

  (“CDOC”) to review and approve or reject requests made by CDOC healthcare providers

  for outside medical care for CDOC inmates. CHP is an administrator and does not

  provide any direct medical care for any CDOC inmates including Plaintiff. Here, Plaintiff

  challenges a decision made by Dr. Mix, as a Medical Director of CHP, to deny a request

  for a stem cell transplant in relation to her cancer treatment. Based on Dr. Mix’s extremely

  limited role, she cannot be held liable for any violation of Plaintiff’s Eighth Amendment

  rights as a matter of law based on the undisputed facts contained in the summary

  judgment record before this Court.

           Dr. Mix is entitled to summary judgment on Plaintiff’s claim for two reasons. First,

  Plaintiff’s claim against her is insufficient because Plaintiff cannot establish any action or

  omission of Dr. Mix caused Plaintiff’s claimed violation of her constitutional rights related

  to the medical treatment provided. Second, even if the requisite causal link could be

  shown, Plaintiff also cannot advance evidence of any subjective intent by Dr. Mix for any

  cognizable Eighth Amendment claim against her.

           Similarly, CHP is entitled to summary judgment on Plaintiff’s Eighth Amendment

  and negligence claims for four reasons. First, as with Dr. Mix, Plaintiff’s constitutional

  claim against CHP is insufficient because Plaintiff cannot establish any action or omission

  of CHP caused Plaintiff’s claimed violation of her constitutional rights related to the

  medical treatment provided. Second, also similar to Dr. Mix, even if the requisite causal

  link could be shown, Plaintiff also cannot advance evidence of any subjective intent by


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  anyone associated with CHP necessary for any cognizable claim against CHP. Third, the

  decisions made by a CHP Medical Director do not constitute a custom, policy or practice

  of CHP, which is needed to establish entity liability on the part of CHP for any

  constitutional claim. Fourth, based on the evidence in the summary judgment record,

  Plaintiff’s state tort claim for negligence fails as a matter of law based on the corporate

  practice of medicine doctrine, the lack of any evidence to establish negligence, and

  Plaintiff’s failure to present any expert to opine about the applicable standard of care and

  its violation or that any alleged negligence caused Plaintiff any injury. Finally, Plaintiff’s

  assertion that Medicaid should have somehow been involved in the decision whether to

  authorize her stem cell transplant treatment is inapposite and fails to provide any basis

  for any cognizable claim.

                                          ARGUMENT

         Initially, for purposes of summary judgment CHP and Dr. Mix assume arguendo

  Plaintiff’s medical condition and treatment satisfied the objective component of Plaintiff’s

  Eighth Amendment claim against them.

  A.     PLAINTIFF CANNOT ESTABLISH ANY ACTION OR OMISSION OF DR. MIX
         CAUSED HER ANY CONSTITUTIONAL INJURY (CLAIMS 2 AND 3)

         1.     Burden of proof and elements: Plaintiff bears the burden of proof at trial by

  a preponderance of the evidence on her 42 U.S.C. § 1983 claim. Mares v. ConAgra

  Poultry Co., Inc., 971 F.2d 492, 494 (10th Cir. 1992). Plaintiff’s constitutional claim

  against Dr. Mix, and CHP, is insufficient on summary judgment because Plaintiff cannot

  establish any action or omission by Dr. Mix caused Plaintiff’s claimed constitutional

  violation.


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         The plain wording of 42 U.S.C. § 1983 contains a causation requirement. Thus,

  “a defendant may not be held liable unless he or she subjected a citizen to the deprivation,

  or caused a citizen to be subjected to the deprivation.” McDonald v. Wise, 769 F.3d

  1202, 1215 (10th Cir. 2014) (quoting Tonkovich v. Kan. Bd. of Regents, 159 F.3d 504,

  518 (10th Cir. 1998)). “Like a tort plaintiff, a § 1983 plaintiff must establish both causation

  in fact and proximate causation.” James v. Chavez, 511 F. App’x 742, 750 (10th Cir.

  2013) (quoting Lamont v. New Jersey, 637 F.3d 177, 185 (3d Cir. 2011)). “The inquiry

  into causation must be individualized and focus on the duties and responsibilities of each

  individual defendant whose acts or omissions are alleged to have caused a constitutional

  deprivation.” Leer v. Murphy, 844 F.2d 628, 633 (9th Cir. 1988). Proximate cause does

  not exist if another act intervened and superseded between a defendant’s act or omission

  and the plaintiff’s injury. Bliss v. Franco, 446 F.3d 1036, 1046 (10th Cir. 2006).

         In the context of Eighth Amendment deliberate indifference claim, an inmate must

  establish legal causation by showing the particular defendant at issue (1) knew the inmate

  faced a substantial risk of harm, and (2) disregarded that risk by failing to take reasonable

  measures to abate it. Martinez v. Beggs, 563 F.3d 1082, 1089 (10th Cir. 2009). The

  Tenth Circuit rejected the argument deliberate indifference does not require any

  connection between the subjective disregard of a risk of serious harm and the objective

  harm actually claimed. See id. at 1089 n.8; Daniels v. Gilbreath, 668 F.2d 477, 488-89

  (10th Cir. 1982). Even an obvious risk cannot establish an inference the defendant knew

  subjectively of the substantial risk of harm, because the defendant can show the

  obviousness escaped him or her. Martinez, 563 F.3d at 1089. In the end, “large leap or




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  short hop,” a plaintiff must prove legal causation. Beers v. Ballard, 248 F. App’x 988,

  991 (10th Cir. 2007).

         2.     Element that cannot be proven by Plaintiff:

         Here, the evidence in the summary judgment record simply does not establish the

  requisite legal causation to allow Plaintiff’s claim against Dr. Mix, and CHP to survive.

  The CHP Provider Manual governing the process of obtaining medical referrals dictates

  the following: (1) Medical Directors (claims adjudicators) in Dr. Mix’s position make the

  initial determination as to whether a requested medical treatment was approved or

  denied; (2) if the provider disagreed, the provider had to submit any additional and

  pertinent clinical information for a Level 1 Appeal, which would be reviewed by a different

  Medical Director to ensure independence; and (3) if that appeal was denied, the provider

  was entitled to a Level 2 Appeal to CDOC Chief Medical Officer, who makes the final and

  binding decision after reviewing all information pertinent to the Level 2 Appeal.

         Despite the provision of multiple layers of review and internal controls to providers

  treating CDOC inmates like Plaintiff, there is no evidence Plaintiff’s health care providers

  with CDOC utilized either the Level 2 Appeal or even the Level 1 Appeal processes. Dr.

  Mix merely made an interim decision that was fully appealable by Plaintiff’s treating

  healthcare providers. Accordingly, the failure of Plaintiff’s medical providers to appeal the

  initial denial is, at least, an intervening cause, if not a superseding cause, either of which

  are sufficient to sever the causal chain, meaning the requisite causal link is entirely absent

  from the evidence and no reasonable jury could find otherwise as a matter of law.




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        3.     Relevant Facts:

        A.     CHP contracts with CDOC to review and provide prior authorization for

  medical care to be provided to CDOC inmates outside of the internal CDOC medical

  system. [See Declaration of Kellie Wasko, ¶ 4, Exh. A-1; see also CHP’s CDOC Provider

  Manual, at CHP 0413. 445-456, attached hereto as Exh. A-4].

        B.     CHP is a medical services organization, not a healthcare provider. For

  CDOC, CHP does not provide any healthcare services. Instead, CHP’s responsibility

  pursuant to its contract with CDOC is to evaluate information sent to CHP to determine

  whether there is a medical necessity for a variety of requested referrals. CHP reviews

  the specific medical information provided to CHP by CDOC treating physicians and other

  treating health care providers through a utilization review to determine the medical

  necessity and propriety of specific treatment requested by that treating physician or

  treating health care provider for a particular CDOC inmate. [See Wasko Declaration, ¶¶

  4 & 5, Exh. A-1].

        C.     In other words, CHP does not treat any CDOC inmates and does not make

  any medical diagnoses. CHP’s role is to respond to specific requests made by CDOC

  healthcare providers and make adjudications of those specific requests based on the

  clinical guidelines established by CDOC, the information provided by the treating

  physician or treating health care provider, and the knowledge and experience of CHP’s

  reviewing medical professionals. [Id. ¶ 5].

        D.     Plaintiff had no encounters, interactions or communications with any

  employee of CHP. [See Deposition of Shawnee Ryan, p. 226, ll. 10-22; p. 229, ll. 9-16




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  (acknowledging no CHP employee, including Dr. Mix, ever treated her), Exh. A-2; see

  also Wasko Declaration, ¶ 5 (CHP does not treat any CDOC inmates), Exh. A-1].

         E.     Plaintiff understands the CHP appeals process. [See Ryan Dep. p. 201, ll.

  21-25; p. 202, ll. 1-15; p. 203, ll. 1-8, 14-19; p. 204, ll. 7-11, Exh. A-2].

         F.     Plaintiff further understands that CDOC is the final decision-maker for any

  request for an outside consult. [Id. p. 203, ll. 1-8, 14-19; p. 204, ll. 7-11 [“CDOC is the

  ultimate authority”); see also Provider Manual, at CHP 0445-0456 (discussing appeals

  process), attached hereto as Exh. A-4].

         G.     Plaintiff admits her medical providers never appealed the initial denial of

  any request, including the September 2016 request for stem cell transplant. [See Ryan

  Dep. p. 221, ll. 9-25; p. 222, ll. 1-21; p. 223, ll. 8-18; p. 224, ll. 8-11; p. 225, ll. 11-25;

  p.226, ll. 1-9, Exh. A-2 (discussing the fact that her treating providers discussed the denial

  with her and decided to try to achieve lower remissions prior to the transplant surgery, i.e.

  admitting her treating providers agreed with the denial)].

         H.     As part of Dr. Mix’s review of the requests for outside consult, based on the

  complex issues of Plaintiff’s medical treatment, Dr. Mix consulted with Plaintiff’s treating

  medical providers prior to denying the stem cell transplant requests. [See Jennifer Mix,

  DO, Declaration, ¶ 5, Exh. A-3].

         I.     It was agreed upon by all to try to achieve better remission prior to the

  transplant being conducted, as better remission provides for a greater chance the

  transplant would be a success. [Id.].

         J.     CHP’s CDOC Provider Manual states if a provider does not agree with the

  decision rendered in CHP’s process, the provider may utilize the appeal process as


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  described in the provider manual. [See Wasko Declaration; ¶ 8, Exh. A-1; see also

  Provider Manual, at CHP 0445-0456 (discussing appeals process), attached hereto as

  Exh. A-4].

         K.     Any appeal should include any additional information the requesting

  provider believes would be pertinent to reviewing the denial. [See Wasko Declaration ¶¶

  7 and 9, Exh. A-1].

         L.     The first step in the CDOC medical necessity appeal process is for an

  inmate’s provider, upon receipt of a denial, to submit additional and pertinent clinical

  information to CHP for a Level 1 Appeal. [See id., ¶ 9].

         M.     At this stage, a different CHP Medical Director than the Medical Director

  who was involved in the original denial would consider the appeal. [See id., ¶ 10].

         N.     This second Medical Director would review all additional and pertinent

  clinical information and render a final decision for CHP, and the provider would be notified

  the determination on the Level 1 Appeal. [See id., ¶ 11].

         O.     In the event the Level 1 Appeal is denied, the provider can file a Level 2

  Appeal. [See Id., ¶ 12].

         P.     At that point, the Level 2 appeal is referred to CDOC’s Chief Medical Officer,

  who makes the final and binding determination after reviewing all information pertinent to

  the Level 2 Appeal, including all materials previously submitted and any additional

  documentation from the Level 1 appeal. [See id., ¶ 13].

         Q.     CDOC retains all authority to make final and binding decisions regarding

  any and all interpretations of, or modifications to, Covered Services. [See id., ¶ 14].



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  B.     PLAINTIFF ALSO CANNOT ESTABLISH THE SUBJECTIVE COMPONENT
         FOR HIS EIGHTH AMENDMENT CLAIM AGAISNT DR. MIX AND CHP (CLAIMS
         2 AND 3)

         1.     Burden of proof and elements: Plaintiff bears the burden of proof at trial by

  a preponderance of the evidence on her 42 U.S.C. § 1983 claim. Mares, 971 F.2d at

  494. Accordingly, even if the requisite causal link could be shown, Plaintiff also cannot

  advance evidence of Dr. Mix’s subjective intent sufficient to survive summary judgment.

         Prison officials must ensure inmates receive the basic necessity of adequate

  medical care and must not be deliberately indifferent to an inmate’s serious medical

  needs. Estelle v. Gamble, 429 U.S. 97, 104 (1976); Al-Turki v. Robinson, 762 F.3d

  1188, 1192 (10th Cir. 2014). Generally, to prevail on a claim of constitutionally inadequate

  medical care, Plaintiff must satisfy a two-prong test: (1) objectively, the prisoner's medical

  condition must have been “sufficiently serious” to be cognizable under the Cruel and

  Unusual Punishment Clause; and (2) subjectively, the official or entity must have known

  of and disregarded an excessive risk to the inmate’s health or safety. Al-Turki, 762 F.3d

  at 1192.    At bottom, the Eighth Amendment “does not outlaw cruel and unusual

  ‘conditions’; it outlaws cruel and unusual ‘punishments.’” Farmer v. Brennan, 511 U.S.

  825, 837 (1994).     The Constitution does not mandate comfortable prisons — only

  deprivations denying “the minimal civilized measure of life’s necessities” are sufficiently

  grave to violate the Eighth Amendment. Wilson v. Seiter, 501 U.S. 294, 298 (1991)

  (citation omitted) (quoting Rhodes v. Chapman, 452 U.S. 337, 347 (1981)).

         The Tenth Circuit recognizes three types of potential deliberate indifference in a

  prison medical case: (1) a medical professional failing to treat a serious medical condition;

  (2) a prison official preventing an inmate from receiving medical treatment; or (3) a prison


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   official denying a prisoner access to medical personnel capable of evaluating the inmate's

   condition. See Sealock v. Colorado, 218 F.3d 1205, 1211 (10th Cir. 2000). Plaintiff's

   claim against Dr. Mix invokes the second type of conduct, so-called “gatekeeper” liability.

          However, mere negligence can never be “deliberate indifference” under the

   subjective component of the Eighth Amendment, as deliberate indifference is equivalent

   to criminal recklessness in this context. Smith v. Cummings, 445 F.3d 1254, 1258 (10th

   Cir. 2006); Hood v. Prisoner Health Servs., 180 F. App’x 21, 25 (10th Cir. 2006). Indeed,

   negligent treatment of a medical condition (or negligent prevention of treatment) is not a

   cognizable wrong under the Eighth Amendment, as alleged medical malpractice is not a

   constitutional violation just because the victim is a prisoner. See Duffield v. Jackson,

   545 F.3d 1234, 1238 (10th Cir. 2008); Fitzgerald v. Corr. Corp. of Am., 403 F.3d 1134,

   1143 (10th Cir. 2005); Tigert v. Higgins, 290 Fed. Appx. 93, 102 (10th Cir. 2008) (“To

   satisfy the subjective component, the prisoner must demonstrate that the prison official

   knew of and disregarded an excessive risk to inmate health and safety. Deliberate

   indifference is a stringent standard of fault, requiring proof that an actor disregarded a

   known or obvious consequence of his or her action. Mere negligence or inadvertence is

   insufficient to support a violation of the Eighth Amendment. In this regard, an official’s

   failure to alleviate a significant risk he or she should have perceived but did not, while no

   cause for commendation, cannot be condemned as infliction of punishment, as actual

   knowledge is required.”). See also Farmer, 511 U.S. at 838; Barney v. Pulsipher, 143

   F.3d 1299, 1310 (10th Cir. 1998) (“It is not enough to establish that the official should have

   known of the risk of harm.”). Finally, an Eighth Amendment claim relating to denial of

   medical care is actionable “only in cases where the need for additional treatment or


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   referral to a medical specialist is obvious.” Self v. Crum, 439 F.3d 1227, 1232 (10th Cir.

   2006).

            2.    Element that cannot be proven by Plaintiff:

            There simply is no evidence Dr. Mix knowingly disregarded risks to Plaintiff’s

   health. Dr. Mix reviewed the information provided by Plaintiff’s treating healthcare

   providers and, then, after the review, consulted with Plaintiff’s treating medical provider

   to fully understand the circumstances surrounding the request. Based on the consultation

   with Plaintiff’s treating healthcare provider, it was determined Plaintiff should try to

   achieve better remission prior to conducting a transplant surgery. Dr. Mix, based on the

   documentation and the consultation with Plaintiff’s treating medical providers, denied the

   request based on the fact all treating providers agreed achieving better remission would

   improve the chance of success with the transplant.

            Additionally, as set forth above, the entity with ultimate interpretive and approval

   authority over the claims management system by which Dr. Mix adjudicated requests for

   treatment was CDOC and not CHP. Dr. Mix did not engage in the direct treatment of

   Plaintiff, but, rather, relied exclusively on the information and consultation provided to her

   by Plaintiff’s CDOC healthcare providers to determine whether the request was medically

   necessary. Plaintiff can point to no evidence on summary judgment indicating Dr. Mix’s

   denial of her requested care was anything but the product of the sincere opinion, based

   on the documentation and consultation of Plaintiff’s treating providers. Denison v. Corr.

   Health Ptrs., 2015 U.S. Dist. LEXIS 113874, at *9-10 (D. Colo. Aug. 26, 2015). 1


            1 Pursuant to D.C.Colo.LCiv.R. 7.1(e), copies of all unpublished decisions are

   attached as Exh. A-5 and provided to Plaintiff.


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         No evidence exists in the summary judgment record to establish Dr. Mix ignored

   the opinions of Plaintiff’s treating providers in denying the transplant surgery. On the

   basis of the information with which Dr. Mix was actually presented, Dr. Mix concluded the

   potential for success with the transplant surgery was greater if Plaintiff achieved better

   remission. Additionally, as discussed above, the ultimate determination was for CDOC’s

   Chief Medical Officer had Plaintiff’s medical providers followed the process for appeals.

         Finally, at best, Plaintiff has established a difference of medical opinion between

   herself and Dr. Mix as to whether moving forward with the surgery prior to achieving better

   remission was appropriate. Unfortunately, the law is well-established that a difference of

   opinion as to the appropriate course of treatment is insufficient to support any conclusion

   Dr. Mix was deliberately indifferent. See, e.g., Phillips v. Tiona, 508 Fed. Appx. 737,

   746 (10th Cir. 2013) (“A mere difference of opinion between a prisoner and the prison’s

   medical staff with respect to a diagnosis or a plan of treatment, or a mere medical

   difference of opinion, is not actionable under the Eighth Amendment.”); Wells v. Krebs,

   10-cv-00023-LTB-KMT, 2010 U.S. Dist. LEXIS 98132 at *27-28 (D. Colo. Sept. 1, 2010)

   (“Plaintiff bases his claim on a difference of medical opinion between Defendant Krebs

   and Defendant Stock as to the necessity of the ultrasound. As held by the Tenth Circuit,

   an exercise of medical judgment as to the course of treatment, without a showing of

   deliberate refusal to provide medical attention, does not represent cruel and unusual

   punishment and is not actionable under the Eighth Amendment.”); Rivera v. Dowis, 08-

   cv-02715-CMA-CBS, 2010 U.S. Dist. LEXIS 16489 at *34-36 (D. Colo. Jan. 29, 2010)

   (same and cataloguing cases).




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          3.     Relevant Facts:

          A.     Plaintiff had no encounters, interactions or communications with any

   employee of CHP. [See Ryan Dep., p. 226, ll. 10-22; p. 229, ll. 9-16 (acknowledging no

   CHP employee, including Dr. Mix, ever treated her), Exh. A-2; see also Wasko

   Declaration, ¶ 5 (CHP does not treat any CDOC inmates), Exh. A-1].

          B.     Plaintiff’s claims are based on the denial of a stem cell transplant in

   September 2016. [Ryan Deposition, p. 195, ll. 14-25; p. 196-197; p. 198, ll. 106; p. 215,

   ll. 17-23 (discussing the claims against CHP and Dr. Mix), Exh. A-2].

          C.     A transplant Plaintiff eventually received in June 2017. [Id.].

          D.     Plaintiff admits her medical providers never appealed the initial denial of

   any request, including the September 2016 request for stem cell transplant. [Id. p. 221,

   ll. 9-25; p. 222, ll. 1-21; p. 223, ll. 8-18; p. 224, ll. 8-11; p. 225, ll. 11-25; p.226, ll. 1-9

   (discussing the fact that her treating providers discussed the denial with her and decided

   to try to achieve lower remissions prior to the transplant surgery, i.e. admitting her treating

   providers agreed with the denial)].

          E.     As part of her review of the requests for outside consult, based on the

   complex issues of Plaintiff’s medical treatment, Dr. Mix consulted with Plaintiff’s treating

   medical providers prior to denying the stem cell transplant requests.                 [See Mix

   Declaration, ¶ 5, Exh. A-3].

          F.     It was agreed upon by all to try to achieve better remission prior to the

   transplant being conducted, as better remission provides for a greater chance the

   transplant would be a success. [Id.].




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           G.     Plaintiff disagreed with every denial Dr. Mix made. [See Ryan Dep., at , p.

   209, ll. 11-25; p. 210, ll. 15-25; p. 211, ll. 1, 13-24; p. 220, ll. 4-21; p. 228, ll. 19-23, Exh.

   A-2].

   C.      PLAINTIFF CANNOT ESTABLISH ENTITY LIABILITY FOR HER EIGHTH
           AMENDMENT CLAIM AGAISNT CHP (CLAIM 2)

           1.     Burden of proof and elements: Plaintiff bears the burden of proof at trial by

   a preponderance of the evidence on her 42 U.S.C. § 1983 claim. Mares, 971 F.2d at

   494. To the extent Plaintiff sues CHP under the Eighth Amendment, the established facts

   fail to demonstrate am entity liability claim. See, e.g., Jantzen v. Hawkins, 188 F.3d

   1247, 1259 (10th Cir. 1999) (suits against individual in his official capacity is equivalent to

   suit filed against municipality so long as official possesses final policymaking authority to

   establish municipal policy with respect to the acts in question); Myers v. Oklahoma

   County Board of Commissioner, 151 F.3d 1313, 1316, n. 2 (10th Cir. 1998) (a § 1983

   suit against a municipality and a suit against a municipal official acting in his or her official

   capacity are the same).        A municipality, county or corporate entity can be held

   accountable for a constitutional violation resulting from an employee's acts only if the

   harmful acts resulted from a policy or custom adopted or maintained with objective

   deliberate indifference to an individual’s constitutional rights. Cf. Monell v. Department

   of Social Servs., 436 U.S. 658, 690-91, 694 (1978) (discussing municipal liability in the

   context of a pretrial detainee’s due process rights). The proper analysis for municipal or

   corporate entity liability requires a court to separate two different issues when a § 1983

   claim is asserted against a municipality: (1) whether plaintiff's harm was caused by a




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   constitutional violation, and (2) if so, whether the municipality is responsible for that

   violation. See Collins v. City of Harker Heights, Tex., 503 U.S. 115, 120 (1992).

          2.     Elements that cannot be proven:

          As discussed above, Plaintiff has failed to establish Dr. Mix’s conduct violated her

   constitutional rights which must result in the dismissal of all claims against CHP as well

   See, e.g., Estate of Ronquillo v. City & Cty. of Denver, 720 Fed. Appx. 434, 441 (10th

   Cir. 2017); Trigalet v. City of Tulsa, 239 F.3d 1150, 1156 (10th Cir. 2001).

          However, even assuming a constitutional violation could be established against

   Dr. Mix, to impose liability on CHP, Plaintiffs must identify a policy or custom that caused

   Plaintiff’s injury. See Bd. of County Commissioners of Brian County, Oklahoma v.

   Brown, 520 U.S. 397, 403-404 (1997); Trigalet, 239 F.3d at 1150. In Starrett v. Wadley,

   876 F.2d 808 (10th Cir. 1989), the Court described municipal policy as a policy statement,

   ordinance, regulation, or decision officially adopted and promulgated by a municipality's

   officers. Id. at 818. The Court further described a custom as persistent and widespread

   practices of officials. Id. It is not enough, therefore, that a plaintiff “identified conduct

   properly attributable to the municipality,” but must demonstrate that the municipality was

   the “moving force” behind the alleged injury. See Trigalet, 239 F.3d at 1152. This inquiry

   requires a direct causal link between the municipal action and the deprivation of federal

   rights. Id. Plaintiff complains of actions taken by Dr. Mix. Plaintiff fails to provide any

   evidence to establish such actions were directly attributable to a custom, policy, or

   practice of CHP. As such, any claim for entity liability should be dismissed as a matter of

   law.




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          D.   PLAINTIFF CANNOT ESTABLISH A CLAIM OF NEGLIGENCE AGAINST
          CHP (CLAIM 1)

          1.     Burden of proof and elements: Plaintiff bears the burden of proof at trial by

   a preponderance of the evidence on her claim of negligence. C.R.S. § 13-25-127(1);

   Gerner v. Sullivan, 768 P.2d 701, 702-03 (Colo. 1989). To establish a prima facie case

   of negligence which includes the following elements: (1) a legal duty of care by defendant;

   (2) breach of that duty; (3) injury to the plaintiff; (4) causation, i.e. that the defendant’s

   breached caused the plaintiff’s injury. Greenberg v. Perkins, 845 P.2d 530, 533 (Colo.

   1993); Observatory Corp. v. Daly, 780 P.2d 462, 465 (Colo. 1989).

          2.     Elements that cannot be proven:

          Element 1:    Plaintiff cannot demonstrate CHP owed her any legal duty for the

   alleged medical negligence of Dr. Mix based on the corporate practice of medicine

   doctrine.

          Colorado follows the corporate practice of medicine doctrine. Under the corporate

   practice of medicine doctrine, a corporation, including CHP, cannot be held vicariously

   liable for the alleged negligent acts of a physician. The doctrine holds that because the

   corporation cannot interfere with the physician’s independent judgment it cannot be

   vicariously liable. See generally, Estate of Harper v. Denver Health & Hosp. Auth.,

   140 P.3d 273, 275-76 (Colo. App. 2006); Daly v. Aspen Center for Women’s Health,

   Inc., 134 P.3d 450, 452-53 (Colo. App. 2005); Moon v. Mercy Hosp., 373 P.2d 944, 945-

   46 (Colo. 1962).

          Plaintiff’s negligence theory appears to be based on the alleged negligence of Dr.

   Mix and perhaps other Medical Directors working for CHP. First, no evidence exists that



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   Dr. Mix or any other Medical Director acted negligently. However, to the extent Plaintiff

   attempts to rely on the alleged negligence of Dr. Mix and other Medical Directors to

   support this claim, the corporate practice of medicine doctrine precludes her from doing

   so as a matter of law.

          Element 2: Plaintiff cannot demonstrate any breach of any duty owed by CHP to

   Plaintiff to provide her with appropriate medical care because Plaintiff has not endorsed

   any expert witness to testify on this essential element of his claim.

          Under Colorado law, the standard of care upon which the physician’s conduct will

   be measured is whether a reasonably careful physician or other health care provider

   would have acted in the same manner as did the health care provider in treating and

   caring for the patient. Greenberg, 845 P.2d at 534; Melville v. Southwest, 791 P.2d

   383, 387 (Colo. 1990). A plaintiff must establish deviation from the applicable standard

   of care through the use of expert testimony. “The reason for the requirement of expert

   testimony in most medical malpractice cases is obvious: matters relating to medical

   diagnosis and treatment ordinarily involve a level of technical knowledge and skill beyond

   the realm of law knowledge and experience. Without expert testimony in such cases, the

   trier of fact would be left with no standard at all against which to evaluate the defendant’s

   conduct.” Melville, 791 P.2d at 387; Trattler v. Citron, 182 P.3d 674, 677 (Colo. 2008);

   Shelton v. Penrose/St. Francis Healthcare System, Inc., 984 P.2d 623, 627 (Colo.

   1999). The requirement for expert testimony also applies to claims brought against an

   entity that employs professionals charged with negligence. See, e.g., State of Colorado

   v. Nieto, 993 P.2d 493, 500-5 (Colo. 2000) (requiring certificate of review pursuant to

   C.R.S. § 13-20-602 for claim based on professional negligence of nurses employed by


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   the Colorado Department of Corrections); Wood v. Rowland, 592 P.2d 1332, 1334-35

   (Colo. App. 1978) (nursing expert called to testify about negligence of nurses in a claim

   against the hospital); Grassi v. Corr. Corp. of Am., 07-cv-00944-MSK-KMT, 2008 U.S.

   Dist. LEXIS 102746 at *25-31 (D. Colo. Dec. 9, 2008) (discussing requirement for experts

   for professional medical negligence claims under Colorado law), aff’d, 354 Fed. Appx.

   329 (10th Cir. Nov. 27, 2009)

          Plaintiff has not endorsed any experts in this case and her deadline to do so

   established by this Court has long passed. Plaintiff’s failure to endorse any expert witness

   to opine about the standard of care and the alleged breach of the standard of care by

   either Dr. Mix or any of the other licensed health care provider who provided treatment to

   Plaintiff precludes her negligence claim as a matter of law. Compare Esposito v. United

   States of America, 165 Fed. Appx. 671, 673 (10th Cir. Feb. 7, 2006) (affirming grant of

   summary judgment based on failure to endorse experts in medical malpractice case).

          Element 3:    Plaintiff cannot demonstrate any injury caused by any alleged

   negligence of any CHP employee because she has not endorsed any expert to testify on

   this essential element of her medical negligence claim.

          Plaintiff’s negligence claim alleges CHP personnel were negligent in failing to

   approve requests for outside consults. To demonstrate she suffered any injury as a result

   of this alleged negligence, Plaintiff must present expert testimony to opine about the likely

   medical outcome had Plaintiff received either different medical care or earlier intervention.

   In the absence of expert medical testimony, Plaintiff cannot establish the injury element

   of her negligence theory because she cannot prove that absent the inactions of CHP

   personnel her medical outcome would have been both different and better.          See, e.g.,


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   Quintana v. United States of America, 2008 U.S. Dist. LEXIS 20698 at *20 (D.Colo.

   Mar. 17, 2008) (“For the plaintiff’s claim of negligence against Nurse Jara to survive

   summary judgment, there must be evidence in the form of expert testimony that Nurse

   Jara breached the applicable standard of care and that such breach was a proximate

   cause of the plaintiff’s injuries.”).

          Element 4:      Plaintiff cannot demonstrate any causation between any action or

   omission by CHP and any injury she suffered in the absence of expert testimony.

          Similarly, Plaintiff cannot establish the causation element of her negligence claim

   in the absence of expert testimony. Unless Plaintiff has an expert to opine that “but for”

   the actions or omission of CHP her medical outcome would have been different she

   cannot establish causation for her negligence claim. Because Plaintiff has not endorsed

   any experts she cannot prove this element of her claim. See, e.g., Kaiser Foundation

   Health Plan of Colorado v. Sharp., 741 P.2d 714 (Colo. 1987) (describing use of expert

   to prove causation in medical malpractice case); Farmers Truck Exchange v. Magnetek

   Inc., 2002 U.S. Dist. LEXIS 27262 at * 8 (D.Colo. Dec. 20, 2002) (“When causation is not

   apparent to the average layperson from common knowledge and experience, expert

   testimony is required to prove causation.”).

          Based on the lack of (1) negligent conduct on the part of any CHP personal,

   including Dr. Mix; (2) expert opinion; and (3) causation, Plaintiff’s negligence claim fails

   as a matter of law.




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   E.     PLAINTIFF’S ASSERTIONS REGARDING MEDICAID ARE WITHOUT MERIT

          1.    Burden of proof and elements: Plaintiff bears the burden of proof at trial by

   a preponderance of the evidence on her claim that Medicaid should have somehow been

   involved in the authorization process.

          2.    Elements that cannot be proven:

          During the course of litigation, Plaintiff has made some unclear assertions

   concerning the role of Medicaid in her treatment and appears to allege the failure to get

   Medicaid involved in the pre-approval stage somehow establishes a constitutional

   violation on the part of CHP and Dr. Mix. Medicaid is only involved in any pre-approval

   or authorization process when it is the primary insurer of the patient. Here, CDOC is the

   primary insurer for all Colorado inmates, including Plaintiff. When not the primary insurer

   of the patient, Medicaid only gets involved after the treatment has been provided to a

   patient and reimburses any expenses that fall within its authority, such as inmates whose

   treatment would require an overnight stay at a hospital. As such, Medicaid was not

   involved in any treatment decisions for Plaintiff because CDOC was Plaintiff’s primary

   insurer.

          3.    Relevant Facts:

          A.    Medicaid is only involved in any pre-approval process when it is the primary

   insurer of the patient. [See Wasko Declaration, ¶¶ 15 and 16, Exh. A-1].

          B.    CDOC is the primary insurer for all Colorado inmates. [See id.]

          C.    When not the primary insurer of the patient, Medicaid only gets involved

   after the treatment has been provided to a patient and reimburses any expenses that fall




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   within its authority, such as inmates whose treatment would require an overnight stay at

   a hospital. [See id.]

          D.     As such, Medicaid was not involved in any treatment decisions for Plaintiff

   because CDOC was Plaintiff’s primary insurer. [See id.]

                                          CONCLUSION

          In conclusion, for all the foregoing reasons, Defendants Correctional Health

   Partners and Jennifer Mix, D.O., respectfully request this Court grant them summary

   judgment on Plaintiff’s claims against them, dismiss all of Plaintiff’s claims against them

   with prejudice in their entirety, and for all other and further relief as this Court deems just

   and appropriate.

                           Dated this 17th day of January 2020.

                                                      Respectfully submitted,


                                                      s/ Edmund M. Kennedy
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                           CERTIFICATE OF SERVICE (CM/ECF)

          I HEREBY CERTIFY that on this 17th day of January 2020, I electronically filed the
   foregoing with the Clerk of Court using the CM/ECF system which will send notification of
   such filing to the following email addresses:

   Amy C. Colony, Esq.
   amy.colony@coag.gov

   Shawnee Ryan
   Shawneeryan216@gmail.com




                                            s/ Nicole Marion, Legal Assistant to:
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                                            JENNIFER MIX




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